 1   Stephen G. Opperwall (SBN 100057)
     LAW OFFICES OF STEPHEN G. OPPERWALL
 2   4900 Hopyard Road, Suite 100
     Pleasanton, California 94588
 3   Telephone: (925) 417-0300
     Facsimile: (925) 417-0301
 4   E-mail: steve.opperwall@comcast.net
 5   Attorneys for Creditor
     Professional Bank
 6
 7
 8                         UNITED STATES BANKRUPTCY COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN JOSE DIVISION
11
12   In Re:                                  )       No. 21-50028 SLJ 7
                                             )
13   Evander Frank Kane,                     )       Chapter 7
                                             )
14                                           )
                                             )
15        Debtor,                            )
                                             )
16                                           )
                                             )
17                                           )
                                             )
18                                           )
                                             )
19                                           )
20
21               OBJECTIONS BY PROFESSIONAL BANK TO DEBTOR'S
22               PURPORTED CLAIMED EXEMPTION FOR MONEY OWED TO
23               DEBTOR BY THE SAN JOSE SHARKS
24
25        Creditor Professional Bank hereby objects to Debtor Kane's
26   purported claim that the $29,000,000+ of money owed to him by the
27   San Jose Sharks is exempt.
28        Although Debtor Kane has not officially stated in Schedule C

                                                 1
     Objections by Professional Bank to Debtor's purported claimed exemption
     for money owed to Debtor by the San Jose Sharks
Case: 21-50028   Doc# 80   Filed: 03/25/21   Entered: 03/25/21 16:28:46   Page 1 of 3
 1   that he claims that the $29,000,000+ of money owed to him by the
 2   San Jose Sharks is exempt, he has effectively made that argument
 3   in other ways and in other places.
 4        Approximately 18 months before his bankruptcy filing, Debtor
 5   Kane borrowed $15.1 million from Professional Bank and several
 6   other banks, and the loans were based on being repaid through a
 7   security interest in the amounts that Kane would receive from the
 8   San Jose Sharks over the balance of his 7 year contract for
 9   $49,000,000. The amount remaining on his contract is approximately
10   $29,000,000.
11        The loans to Debtor Kane from Professional Bank and other
12   banks were conditioned on automatic direct payments of debt service
13   payments from amounts owed to Kane by the San Jose Sharks.
14        Kane received that money from the banks on those terms, which
15   included Security Agreements, Promissory Notes, UCC-1 filings,
16   garnishment waivers, etc.
17        Within a few months after Kane received the money, he blocked
18   the automatic payments, and did not make any manual payments of the
19   debt service.
20        Now, Debtor and his counsel contend that the amounts owed to
21   Kane by the San Jose Sharks are exempt and are not available as
22   collateral to enforce the repayment of the loans.
23        Professional Bank contends that the amounts from the San Jose
24   Sharks to Kane in the next 3-4 years in the amount of approximately
25   $29,000,000 are not exempt but are fully enforceable terms under
26   which Kane borrowed more than $15,000,000 approximately 18 months
27   before he declared bankruptcy.
28        This objection is asserted now out of an abundance of caution

                                               2
     Objections by Professional Bank to Debtor's purported claimed exemption
     for money owed to Debtor by the San Jose Sharks
Case: 21-50028   Doc# 80   Filed: 03/25/21   Entered: 03/25/21 16:28:46   Page 2 of 3
 1   even though the exemption argued by Debtor and Debtor's counsel is
 2   not officially stated as a claimed exemption in the Schedules or
 3   other pleadings filed to date, because the date set for objecting
 4   is now and Professional Bank is putting that objection on the
 5   record.
 6
 7
 8   Dated: March 25, 2021                         LAW OFFICES OF
                                                   STEPHEN G. OPPERWALL
 9
10                                                 /s/ Stephen G. Opperwall
                                                   _________________________
11                                                 STEPHEN G. OPPERWALL
                                                   Attorneys for Creditor
12                                                 Professional Bank
13   objections by PB re exemption income.doc.wpd
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3
     Objections by Professional Bank to Debtor's purported claimed exemption
     for money owed to Debtor by the San Jose Sharks
Case: 21-50028   Doc# 80   Filed: 03/25/21   Entered: 03/25/21 16:28:46   Page 3 of 3
